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16                                UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
17

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19                                                     Case No. 3:19-md-02913-WHO
       IN RE: JUUL LABS, INC., MARKETING,
20     SALES PRACTICES, AND PRODUCTS
       LIABILITY LITIGATION                            Honorable William H. Orrick
21

22                                                     NOTICE OF CHANGE IN COUNSEL
       This Document Relates to:
23

24     RENE CHANEY, individually and as the
       Guardian of her minor children, J.C. and A.C.
25

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                                    NOTICE OF CHANGE IN COUNSEL
            Case 3:19-md-02913-WHO Document 4050 Filed 06/12/23 Page 2 of 2




 1          PLEASE TAKE NOTICE that Mark H. Troutman, Counsel for Plaintiffs, has changed firms

 2   and is affiliated with Gibbs Law Group LLP. Counsel notifies the Court and counsel, and respectfully

 3   requests the Court and counsel amend their records to reflect such change, hereafter directing all orders,

 4   notices, pleadings, letters, and any and all other communications to the following address:

 5
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11   DATED: June 12, 2023                                     Respectfully submitted,
12                                                         /s/ Mark H. Troutman
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                                     NOTICE OF COUNSEL IN COUNSEL
